Case 08-13141-BLS Doc 3249-3 . Filed 01/27/10 Page 1of3

Proposed Order

820734/1/5752.085
Case 08-13141-BLS Doc 3249-3 Filed 01/27/10 ..Page.2.of.3

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,' Case No, 08-13141 (KJC)
Debtors. Jointly Administered
Related to Docket No.

ORDER ALLOWING PAYMENT OF FEES AND EXPENSES FEE TO HORWOOD,
MARCUS & BERK CHARTERED FOR SERVICES RENDERED TO THE DEBTORS
IN THE ORDINARY COURSE OF BUSINESS

Upon the Application* of Horwood for entry of an order (i) allowing fees in the
amount of $23,498.00 for services rendered to the Debtors in the period of September 1, 2009
through September 30, 2009, (ii) authorizing Horwood to retain amounts previously paid to it by

the Debtors on account of such fees and expenses, and (iii) granting a limited waiver of the

l The Debtors in these chapter I 1 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355), 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844), Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327), forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808), Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663), Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479), JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943), KSWB Inc. (7035); KTLA Ine. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522), NBBF, LLC (0893),
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); New River Center Maintenance Association, Inc, (5621); Newscom Services, Inc. (4817);
Newspaper Readers Agency, Inc. (7335), North Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak
Brook Productions, Inc. (2598); Orlando Sentinel Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest
Products Co. of Washington (4750); Sentinel Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc.
(3603); Southern Connecticut Newspapers, Inc. (1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel
Company (2684); The Baltimore Sun Company (6880); The Daily Press, Inc. (9368), The Hartford Courant Company (3490); The Morning Call,
Inc. (7560), The Other Company LLC (5337); Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc.
(4227), Times Mirror Services Company, Inc. (1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325);
Tower Distribution Company (9066); Towering T Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune
Broadcasting Company (2569); Tribune Broadcasting Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune
Washington Bureau Inc. (1088); Tribune California Properties, Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club,
LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune Entertainment Company (6232); Tribune Entertainment Production Company
(5393); Tribune Finance, LLC (2537), Tribune Finance Service Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc,
(4522), Tribune Manhattan Newspaper Holdings, Inc. (7279), Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune
Network Holdings Company (9936); Tribune New York Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing
Company (9720); Tribune Television Company (1634); Tribune Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055);
Tribune Television Northwest, Inc. (2975), ValuMail, Inc. (9512), Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies,
LLC (9587), WATL, LLC (7384); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530);
WLVI Ine. (8074), WPIX, Inc. (0191); and WTXX Inc. (1268). The Debtors’ corporate headquarters and the mailing address for each Debtor is
435 North Michigan Avenue, Chicago, Illinois 60611.

2 Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the Application.

820734/1/5752.085
Case 08-13141-BLS Doc 3249-3 Filed 01/27/10 Page 3of3

procedures for compensation and reimbursement of expenses for professionals and consideration
of fee applications set forth in this Court’s Interim Compensation Order and Fee Examiner Order
with respect to the Application; and the Court finding that (a) the Court has jurisdiction over this
matter pursuant to 28 U.S.C. §§ 157 and 1334, (b) this matter is a core proceeding within the
meaning of 28 U.S.C. § 157(b)(2), and (c) notice of the Application was due and proper under
the circumstances; and it appearing that the relief requested in the Application is in the best
interests of the Debtors’ estate, creditors, and other parties in interest; and after due deliberation,
and good and sufficient cause appearing therefor, it is hereby:

ORDERED, that the Application is granted; and it is further

ORDERED, Horwood is hereby authoriezd to retain fees in the amount of
$23,498.00 for services rendered to the Debtors in the period of September 1, 2009 through
September 30, 2009 previously paid to it by the Debtors; and it is further

ORDERED, that the procedures for compensation and reimbursement of expenses
for professionals and consideration of fee applications set forth in this Court’s Interim
Compensation Order and Fee Examiner Order are hereby waived, solely for the purpose of
permitting Horwood to retain the full amount of the payment made to it by the Debtors on
account of such fees and expenses, and solely with respect to this Application; and it is further

ORDERED, that this Court shall retain jurisdiction with respect to all matters
arising from or related to the implementation of this Order.

Dated: Wilmington, Delaware

February _, 2010

Honorable Kevin J. Carey
Chief United States Bankruptcy Judge

820734/1/5752.085
